Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 1 of 18 PageID #: 5




        EXHIBIT A
                                                                                                               Page 1 of 2
            Case 3:18-cv-00163-RLY-MPB              Document 1-1 Filed 08/31/18 Page 2 of 18 PageID #: 6
                      This is not the official court record. Official records of court proceedings may only be
                            obtained directly from the court maintaining a particular record.


Janice Shepard v. Professional Transportation, Inc.
Case Number                      82C01-1807-CT-004147

Court                            Vanderburgh Circuit Court

Type                             CT - Civil Tort

Filed                            07/26/2018

Status                           07/26/2018 , Pending (active)


Parties to the Case
Defendant Professional Transportation, Inc.

Plaintiff      Shepard, Janice
    Address                    301 N. Cedar
                               Creston, IA 50801
    Attorney                   Joseph Howard Cassell
                               #1055798, Retained
                               229 E. William
                               Suite 100
                               Wichita, KS 67202


Chronological Case Summary
07/26/2018 Case Opened as a New Filing


07/27/2018         Complaint/Equivalent Pleading Filed
               Complaint

               Filed By:               Shepard, Janice
               File Stamp:             07/26/2018

07/27/2018         Appearance Filed
               Entry of Appearance

               For Party:              Shepard, Janice
               File Stamp:             07/26/2018

07/27/2018         Subpoena/Summons Filed
               Summons

               Filed By:               Shepard, Janice
               File Stamp:             07/26/2018

07/27/2018         Subpoena/Summons Filed
               Summons

               Filed By:               Shepard, Janice
               File Stamp:             07/26/2018

08/02/2018         Service Returned Served
               Personal - Connie Romain, Resident Agent

               Date Served:            08/01/2018
                                                                                           Page 2 of 2
            Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 3 of 18 PageID #: 7
 08/02/2018          Service Returned Served
               Copy - Ronald D. Romain

               Party Served:           Professional Transportation, Inc.
               Date Served:            08/01/2018


Financial Information
* Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any balance
  due does not reflect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding balances shown,
  please contact the Clerk’s Office.

Shepard, Janice
Plaintiff

             Balance Due (as of 08/21/2018)
             28.00

             Charge Summary
              Description                                                          Amount            Credit             Payment
              Court Costs and Filing Fees                                          185.00            0.00               157.00

             Transaction Summary
              Date               Description                                       Amount
              07/27/2018         Transaction Assessment                            157.00
              07/27/2018         Electronic Payment                                (157.00)
              08/20/2018         Transaction Assessment                            28.00



                           This is not the official court record. Official records of court proceedings may only be
                           obtained directly from the court maintaining a particular record.
                                                                        Filed: 7/26/2018 4:27 PM
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 4 of 18 PageID  #: 8            Clerk
                                         Vanderburgh Circuit Court                          Vanderburgh County, Indiana




 STATE OF INDIANA                                                      IN THE CIRCUIT COURT

 COUNTY OF VANDERBURGH                                               Case No:82C01-1807-CT-004147
                                                                              ___________________


 JANICE SHEPARD,                                         )
                                                         )
                                                         )
                Plaintiff,                               )
                                                         )
 v.                                                      )
                                                         )
 RONALD D. ROMAIN, individually and as                   )
 President of Professional Transportation, Inc.,         )
 PROFESSIONAL TRANSPORTATION, INC.,                      )
 a for-profit Indiana corporation,                       )
                                                         )
                                                         )
                Defendants.                              )
                                                         )


                                            COMPLAINT

        COMES NOW, plaintiff Janice Shepard, by and though her attorney Joseph H. Cassell of

 Eron Law, P.A., and brings this cause of action for unpaid minimum wage and overtime against

 pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), against defendants

 Ronald D. Romain, individually and as president of Professional Transportation, Inc., and

 Professional Transportation, Inc., an Indiana corporation, alleges and states as follow:

        1.      Plaintiff is a resident of the state of Iowa.

        2.      Defendant Ronald D. Romain is a resident of the state of Indiana and

 Vanderburgh County.

        3.      Defendant Professional Transportation, Inc. (“PTI”) is a for-profit corporation,

 formed under the laws of the State of Indiana with its headquarters located in Evansville,

 Vanderburgh County, Indiana.
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 5 of 18 PageID #: 9



        4.      Romain is president of PTI and employer as defined by 29 U.S.C. § 203.

        5.      PTI is an employer as defined by 29 U.S.C. § 203.

        6.      Intent on becoming a putative class member, plaintiff previously opted into Smith

 v. Professional Transportation, Inc., Civil Action No. 13-CV-221 (S.D. Ind.).

        7.      Plaintiff’s Consent to Opt-In was filed in Smith on March 25, 2015.

        8.      On January 26, 2018, Judge Richard Young granted defendants’ Motion to

 Decertify the collective class in Smith.

        9.      PTI provides ground (non-rail) transportation services to several rail carriers.

        10.     Among the transportation services PTI provides the rail carriers is:

                A.      Over-the-road transportation.

                B.      Yard or local (immediate vicinity) transportation.

        11.     Over-the-road transportation services can include:

                A.      Deadheading of crews where PTI transports crews from one
                        location to another;

                B.      Transporting crews who are relieving train crews whose time has
                        expired or will expire under the hours of service law, prior to the
                        train reaching the destination;

                C.      Assisting crews with local, road switcher or work train activities;

                D.      Other activities as may be requested by the rail carrier.

        12.     Defendants also provide local or dedicated yard van (“DYV”) service.

        13.     DYV service may include:

                A.      Providing transportation in or about a rail carrier’s yard.

                B.      Transporting crews to and from the rail carrier’s yard to and from the
                        crews away from home terminal hotel.

                C.      Other local transportation as the rail carrier may request.
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 6 of 18 PageID #: 10



         14.     Plaintiff was initially hired in July 2009 as a driver.

         15.     From her initial hiring, plaintiff mainly worked as an over-the-road driver.

         16.     On or before July 2012, plaintiff was promoted to the position of “Branch

 Administrator” (“BA”) at PTI’s Creston, Iowa branch office.

         17.     As a BA, plaintiff was the first point of contact at PTI’s branch office for PTI’s

 rail carrier customers, the drivers who were assigned to plaintiff’s branch office location, as well

 as for PTI itself.

         18.     Among plaintiff’s duties were:

                 A.      Accepting driver applications;

                 B.      Interviewing driver applicants;

                 C.      Performing drug and alcohol testing of applicants;

                 D.      Performing drug and alcohol testing on existing drivers;

                 E.      Perform new hire orientation;

                 F.      Conduct safety training on newly hired drivers;

                 G.      Conduct on-going safety training of existing drivers;

                 H.      Make recommendations as to the suitability of driver applicants;

                 I.      Initiate discipline of existing drivers;

                 J.      Recommend the termination of existing drivers;

                 K.      Conduct exit interviews of drivers to be terminated;

                 L.      Interface with the rail carrier’s local management concerning PTI’s
                         performance and any concerns raised by the rail carrier;

                 M.      Submit payroll inquiries on behalf of the drivers under plaintiff’s
                         management;

                 N.      Respond to any accident that involved a PTI driver under
                         plaintiff’s management or as requested by PTI;
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 7 of 18 PageID #: 11




                O.      Initiate and respond to reports of company rules violations of
                        driver’s under plaintiff’s management;

                P.      Submit payroll information of driver activities to PTI;

                Q.      Respond to any inquiry that PTI and/or its dispatch may have
                        regarding the status of a driver, problem associated with a driver or
                        any problem that may arise with a trip and/or driver already on a
                        trip.

        19.     PTI, like the rail carriers it serves, operates on a 24/7/365 basis.

        20.     Upon being promoted to BA, PTI entered into a contract with plaintiff.

        21.     The contract between plaintiff and PTI set forth the number of hours PTI allotted

 plaintiff to accomplish her job duties as a BA.

        22.     Plaintiff was also expected to perform driving activities to supplement her income

 while working as a BA.

        23.     PTI allotted plaintiff 12 hours per week to accomplish her job duties as a BA.

        24.     As a BA, plaintiff was paid $16.67 for her job duties as a BA.

        25.     As a BA, defendants considered plaintiff to be non-exempt employee under the

 FLSA and eligible for overtime compensation at a rate of one and one-half times her regular rate

 of pay for all hours worked over 40 in a week.

        26.     Defendants would call plaintiff on the telephone regarding issues that arose at her

 branch location on a 24 hour a day basis.

        27.     Plaintiff was not allowed to not answer the telephone without the fear of

 disciplinary action being taken against him.

        28.     Plaintiff was further required to attend to any and all business that involved

 defendants operations, regardless of the time of day or how many hours she had previously

 worked in her capacity as a BA.
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 8 of 18 PageID #: 12



        29.     Defendants did not track the number of hours plaintiff was working while

 performing her duties as a BA on defendants’ behalf.

        30.     While employed as a BA, plaintiff’s BA salary never met or exceeded $455 per

 week on a salary basis for plaintiff to qualify as exempt from overtime under the FLSA.

        31.     Under the FLSA, 29 U.S.C. § 213(a), “The provisions of section 206 [minimum

 wage] * * * and section 207 [maximum hours] of this title shall not apply with respect to (1) any

 employee employed in a bona fide executive, administrative, or professional capacity . . . .”

        32.     Plaintiff performs such duties and functions as to fall under the so called

 “executive exemption” of the FLSA.

        33.     Due to this compensation, plaintiff was improperly classified as “exempt,” and

 therefore, is eligible for the protections offered by 29 U.S.C. § 206, minimum wage, and 29

 U.S.C. § 207, maximum hours or the overtime.

        34.     As a direct result of being misclassified as exempt, all hours worked by plaintiff

 in each week he was classified and performing the duties of a salary exempt employee, acting in

 a bona fide “executive” capacity, and not compensated at least $455 per week on a salary basis,

 are to be counted and considered for minimum wage and overtime damage purposes.

        WHEREFORE, plaintiff Janice Shepard prays for judgment against defendants, Ronald

 D. Romain and Professional Transportation, Inc., as follows:

        A.      Judgment for compensatory damages against defendants for their willful failure to

 pay minimum wages and overtime compensation at one and one-half times the regular rate of

 pay for the performance of her duties as a BA;
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 9 of 18 PageID #: 13



       B.      Liquidated damages equal to the sum of the compensatory damages for

 defendants’ willful refusal to pay such required minimum wages and overtime compensation

 based on the FLSA;

       C.      Attorney fees and costs associated with all causes of action and

       D.      All other relief this court deems just and equitable.


                                                                     ERON LAW, P.A.
                                                                 229 E. William, Suite 100
                                                                  Wichita, Kansas 67202
                                                                Telephone: (316) 262-5500
                                                                e-mail: jhcassell@eronlaw.net
                                                        By:        /s/Joseph H. Cassell
                                                                Joseph H. Cassell #10557-98
                                                                   Attorneys for plaintiff

                                 REQUEST FOR TRIAL BY JURY

       Plaintiff requests a trial by jury on all issues so triable.

                                                                        /s/Joseph H. Cassell
                                                                         Filed: 7/26/2018 4:27 PM
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 10 of 18 PageID  #: 14           Clerk
                                            Vanderburgh Circuit Court                           Vanderburgh County, Indiana




  STATE OF INDIANA                              )                          IN THE CIRCUIT COURT
                                                )                              82C01-1807-CT-004147
  COUNTY OF VANDERBURGH                         )                       Case No: ___________________


  JANICE SHEPARD,                                                )
                                                                 )
                                                                 )
                Plaintiff,                                       )
                                                                 )
  v.                                                             )
                                                                 )
  RONALD D. ROMAIN, individually and as                          )
  President of Professional Transportation, Inc.,                )
  PROFESSIONAL TRANSPORTATION, INC.,                             )
  a for-profit Indiana corporation,                              )
                                                                 )
                                                                 )
                Defendants.                                      )
                                                                 )


                                       ENTRY OF APPEARANCE

         1.     The party on whose behalf this form is being filed is:

                Initiating __X__                     Responding ____         Intervening ____ ; and

         the undersigned attorney and all attorneys listed on this form now appear in this case for
         the following parties:

         Name of party:                     Janice Shepard
         Address of party:                  301 N. Cedar, Creston, IA 50801
         Telephone # of party               (641) 344-6784

         2.       Attorney information for service as required by Trial Rule 5(B)(2)

         Name:               Joseph H. Cassell     Atty Number: 10557-98
         Address:            229 E. William, Suite 100, Wichita, Kansas 67202
         Phone:              316-262-5500
         Facsimile:          316-262-5559
         Email Address:      jhcassell@eronlaw.net

         Each attorney specified on this appearance:

         (a)      certifies that the contact information listed for him/her on the Indiana Supreme
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 11 of 18 PageID #: 15



                  Court Roll of Attorneys is current and accurate as of the date of this
                  Appearance;
         (b)      acknowledges that all orders, opinions, and notices from the court in this matter
                  that are served under Trial Rule 86(G) will be sent to the attorney at the email
                  address(es) specified by the attorney on the Roll of Attorneys regardless of the
                  contact information listed above for the attorney; and
         (c)      understands that he/she is solely responsible for keeping his/her Roll of
                  Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
                  2(A).

         3.      This is a CT case type as defined in administrative Rule 8(B)(3).

         4.      This case involves child support issues. Yes ____ No _X___

          5.      This case involves a protection from abuse order, a workplace violence restraining
  order, or a no – contact order. Yes ____ No __X__

         This case involves a petition for involuntary commitment. Yes ____ No _X___

          6.      If Yes above, provide the following regarding the individual subject to the
  petition for involuntary commitment:

           a. Name of the individual subject to the petition for involuntary commitment if it is
               not already provided in #1 above:
               ____________________________________________
           b. State of Residence of person subject to petition: _______________
           c. At least one of the following pieces of identifying information:
              (i) Date of Birth ___________
              (ii) Driver’s License Number ______________________
                    State where issued _____________ Expiration date __________
              (iii) State ID number ____________________________
                    State where issued _____________ Expiration date ___________
              (iv) FBI number __________________________
              (v) Indiana Department of Corrections Number _______________________
              (vi) Social Security Number is available and is being provided in an attached
          confidential document Yes ____ No ____

         7.      There are related cases: Yes ____ No __X__

         8.      Additional information required by local rule: None

         9.      There are other party members: Yes ____ No _X___

         10.     This has been served on all other parties and Certificate of Service is attached:
                 Yes___ No _X__
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 12 of 18 PageID #: 16




                                                      ERON LAW, P.A.
                                                  229 E. William, Suite 100
                                                   Wichita, Kansas 67202
                                                 Telephone: (316) 262-5500
                                                 e-mail: jhcassell@eronlaw.net
                                           By:      /s/Joseph H. Cassell
                                                 Joseph H. Cassell #10557-98
                                                    Attorneys for plaintiff
                                                                         Filed: 7/26/2018 4:27 PM
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 13 of 18 PageID  #: 17           Clerk
                                           Vanderburgh Circuit Court                         Vanderburgh County, Indiana




  STATE OF INDIANA                            )                          IN THE CIRCUIT COURT
                                              )                               82C01-1807-CT-004147
  COUNTY OF VANDERBURGH                       )                        Case No: ___________________


  JANICE SHEPARD,                                               )
                                                                )
                                                                )
                 Plaintiff,                                     )
                                                                )
  v.                                                            )
                                                                )
  RONALD D. ROMAIN, individually and as                         )
  President of Professional Transportation, Inc.,               )
  PROFESSIONAL TRANSPORTATION, INC.,                            )
  a for-profit Indiana corporation,                             )
                                                                )
                                                                )
                 Defendants.                                    )
                                                                )


                                                  SUMMONS

  TO DEFENDANT:               Connie S. Romain, Resident Agent
                              Professional Transportation, Inc.
                              3700 E. Morgan Avenue
                              Evansville, Indiana 47715

         You are hereby notified that you have been sued by the person named as plaintiff and in
  the Court indicated above.

       The nature of the suit against you is stated in the complaint which is attached to this
  Summons. It also states the relief sought or the demand made against you be the plaintiff.

          An answer or other appropriate response in writing to the complaint must be filed either
  by you or your attorney within twenty (20) days, commencing the day after you receive this
  Summons, (or twenty-three (23)- days if this Summons was received by mail), or a judgment by
  default may be rendered against you for the relief demanded by plaintiff.

         If you have a claim for relief against the plaintiff arising from the same transaction or
  occurrence, you must assert it in your written answer.
                                                                                    /s/ Barbara Burgdorf
  Dated: July ___, 2018
                                                               Clerk, Vanderburgh Circuit Court
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 14 of 18 PageID #: 18



         The following manner of service of summons is hereby designated:

         Service on Connie S. Romain, Resident Agent

  Joseph H. Cassell #10557-98
  ERON LAW, P.A.                                        Vanderburgh County Circuit Court
  229 E. William, Suite 100                             1 N.W. Martin Luther King, Jr. Blvd.
  Wichita, Kansas 67202                                 Evansville, Indiana 47708-1833
  Telephone: (316) 262-5500                             Telephone: (812) 435-5000
  e-mail: jhcassell@eronlaw.net
  Attorney for plaintiff

                     SHERIFF'S RETURN ON SERVICE OF SUMMONS

         I hereby certify that I have served this summons on the ____ day of July, 2018

         (1) By delivering a copy of the Summons and a copy of the complaint to the defendant,

         (2) By leaving a copy of the Summons and a copy of the complaint at 3700 E. Morgan

  Avenue, Evansville, Indiana 47715, which is the registered and/or business office of Connie S.

  Romain, Resident Agent, and by mailing a copy of said summons to said defendant at the above

  address.

         (3) Other Service or Remarks: ________________________________________



  Sheriff's Costs:____________                               Sheriff Dave Wedding



                                                      By:
                                                             Deputy Sheriff, Vanderburgh County
                                                                         Filed: 7/26/2018 4:27 PM
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 15 of 18 PageID  #: 19           Clerk
                                           Vanderburgh Circuit Court                         Vanderburgh County, Indiana




  STATE OF INDIANA                            )                          IN THE CIRCUIT COURT
                                              )
  COUNTY OF VANDERBURGH                       )                                  82C01-1807-CT-004147
                                                                       Case No: ___________________


  JANICE SHEPARD,                                               )
                                                                )
                                                                )
                 Plaintiff,                                     )
                                                                )
  v.                                                            )
                                                                )
  RONALD D. ROMAIN, individually and as                         )
  President of Professional Transportation, Inc.,               )
  PROFESSIONAL TRANSPORTATION, INC.,                            )
  a for-profit Indiana corporation,                             )
                                                                )
                                                                )
                 Defendants.                                    )
                                                                )


                                                  SUMMONS

  TO DEFENDANT:               Ronald D. Romain
                              10500 Wilmington Drive
                              Evansville, Indiana 47725

         You are hereby notified that you have been sued by the person named as plaintiff and in
  the Court indicated above.

       The nature of the suit against you is stated in the complaint which is attached to this
  Summons. It also states the relief sought or the demand made against you be the plaintiff.

          An answer or other appropriate response in writing to the complaint must be filed either
  by you or your attorney within twenty (20) days, commencing the day after you receive this
  Summons, (or twenty-three (23)- days if this Summons was received by mail), or a judgment by
  default may be rendered against you for the relief demanded by plaintiff.

         If you have a claim for relief against the plaintiff arising from the same transaction or
  occurrence, you must assert it in your written answer.

                                                                                  /s/ Barbara Burgdorf
  Dated: July ___, 2018
                                                               Clerk, Vanderburgh Circuit Court
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 16 of 18 PageID #: 20



         The following manner of service of summons is hereby designated:

         Personal Service on Ronald D. Romain

  Joseph H. Cassell #10557-98
  ERON LAW, P.A.                                        Vanderburgh County Circuit Court
  229 E. William, Suite 100                             1 N.W. Martin Luther King, Jr. Blvd.
  Wichita, Kansas 67202                                 Evansville, Indiana 47708-1833
  Telephone: (316) 262-5500                             Telephone: (812) 435-5000
  e-mail: jhcassell@eronlaw.net
  Attorneys for plaintiff

                     SHERIFF'S RETURN ON SERVICE OF SUMMONS

         I hereby certify that I have served this summons on the ____ day of July, 2018

         (1) By delivering a copy of the Summons and a copy of the complaint to the defendant,

         (2) By leaving a copy of the Summons and a copy of the complaint at 10500 Wilmington

  Drive, Evansville, Indiana 47725, which is the dwelling place or usual place of abode of Ronald

  D. Romain and by mailing a copy of said summons to said defendant at the above address.

         (3) Other Service or Remarks: ________________________________________



  Sheriff's Costs:____________                               Sheriff Dave Wedding



                                                     By:
                                                             Deputy Sheriff, Vanderburgh County
                                                                                                                                             Filed: 7126/2018 4:27   PW
      '1
           Case 3:18-cv-00163-RLY-MPB Document
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                                                j.

                                         Vanderburgh                        Circuit   Court                                              Vanderburgh County,   Ingilaﬁ:


xi)




             STATE 0F INDIANA                                    )                               IN THE CIRCUIT                      COURT
                                                                 )                                   82001—1807-CT-oo4147
             COUNTY 0F VANDERBURGH                               )                            Case No:



             JANICE SHEPARD,                                                           )

                                                                                       )

                                                                                       )

                             Plaintiff,                                                )

                                                                                       )
             v.                                                                        )

                                                                                       )
             RONALD D. ROMAIN, individually and as                                     )
             President of Professional Transportation, Inc.,                           )                                    .
                                                                                                                                          County 1
             PROFESSIONAL TRANSPORTATION, INC.,                                        )
                                                                                                               Val'idel'qufggmcp
             a for—proﬁt Indiana corporation,                                                                     She‘
                                                                                                                       TC: SERwéc/7
                                                                                       g
                                                                                                                      f         ‘"

                             Defendants.
                                                                                       )

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                                                                     SUMMONS
             TO DEFENDANT:                Connie      S.   Romain, Resident Agent
                                          Professional Transportation, Inc.
                                          3700 E. Morgan Avenue
                                          Evansville, Indiana 4771 5


                    You    are hereby notiﬁed that           you have been sued by the person named as                    plaintiff and in
             the Court indicated above.


                   The nature of the suit against you is             stated in the complaint        which      is   attached to this
             Summons. It also states the relief sought or            the   demand made         against   you be the       plaintiff.


                    An answer or other appropriate response                in writing to the complaint              must be ﬁled           either
             by you or your attorney within twenty (20) days, commencing the day aﬁer you receive this
             Summons, (or twenty—three (23)— days if this Summons was received by mail), 0r a judgment by
             default may be rendered against you for the relief demanded by plaintiff.


                    If   you have a claim    for relief against the plaintiff arising            from the same transaction or
             occurrence,   youmust    assert   it    in   your written answer                              v




                                                                                                     $2             ls/   Barbara Burgdorf

             Dated: July   _, 201 8
                                                                                      Clerk,   Vanderburgh Circuit Court
Case 3:18-cv-00163-RLY-MPB Document 1-1 Filed 08/31/18 Page 18 of 18 PageID   #: 22
                                                                          Filed: 7I26I2018 4:27 PIN
                                                 4   w



                                    ”é           ' Yanderburgh       Circuit Court                                                            Vanderburgh County, Indian:
                                                                                                                                                                            I




  STATE 0F INDIANA                                       )                             IN   THE CIRCUIT COURT
                                .
                                                         )
  COUNTY 0F VANDERBURGH                                  )                           Case No: 32901-1 8°7'CT'004147


  JANICE SHEPARD,                                                             )                                                               _




                                                                              )

                                                                                                                  ECE VE
                                                                                                                                                                   ‘n




                                                                              )                                                                                ‘




                                                                                                                                                                        ~

                   Plaintiff,                                                                                                                             ll
                                                                              )

                                                                              )                                      AUG o1                        201s
  v.
                                                                              )

                                                                             )                      Vanderburgh Co. Sheriffs Office
  RONALD D. ROMAIN, individually and as                                       )
                                                                                                                                          County               I

  President of Professional Transportation, Inc.,                            )                 Vanderourghoﬁ‘ce
  PROFESSIONAL TRANSPORTATION,                               INC.,           )
                                                                                                        3‘
                                                                                                                 ‘12?            ”l’_
                                                                                                                                         SEW“,-
                                                                                                    '       ‘   r”         l


  a for-proﬁt Indiana corporation,                                           )

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                                                                                               01“!"
                                                                                                        .
                                                                                                                sg_I   \       _0
                                                                                                                                         ﬂ        ___r


                                                                             )                                   Q/I/ﬂ-                             __


                   Defendants.                                               )                  C                      r        a. --.    c   d.

                                                                             )




                                                             Wis.
  TO DEFENDANT:                 Ronald D. Romain
                                10500 Wilmington Drive
                                Evansville, Indiana 47725


         You are hereby notiﬁed that you have been                     sued by the person named as plaintiff and in
  the Court indicated above.


        The nature of the suit against you is stated in the complaint which is attached to this
  Summons. It also states the relief sought or the demand made against you be the plaintiff.

         An answer or other appropriate response in writing to the complaint must be ﬁled either
  by you or your attorney within twenty (20) days, commencing the day after you receive this
  Summons, (or twenty-three (23)- days if this Summons was received by mail), or a judgment by
  default may be rendered against you for the relief demanded by plaintiff.


         If   you have a claim      for relief against the plaintiff arising            from the same transaction or
  occurrence, you must assert        it   in   your written answer.



  Dated: July   _,   20 1 8
                                                                                             Mara                                                 Burgdorf

                                                                              lerk,   Vaﬂderburgh Circuit Court
